Case 1:09-cr-00466-BMC-RLM           Document 745        Filed 10/17/24      Page 1 of 11 PageID #:
                                           18875



  FJN/RMP/AA/LAB
  F. #2009R01065/OCDETF#NY-NYE-616

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------X

  UNITED STATES OF AMERICA

         -against-                                     STIPULATION & PROTECTIVE ORDER
                                                       09-CR-466 (BMC) (S-5)
  ISMAEL ZAMBADA GARCIA,
    also known as “El Mayo,” “Mayo
    Zambada,” “Doctor,” “La Doc,”
    “Doctora,” “El Lic,” “Mike”
    and “Mayo El Senor,”

                             Defendant.

  ---------------------------X

                 IT IS HEREBY STIPULATED AND AGREED by the undersigned attorneys and

  ORDERED by the Court, pursuant to Federal Rule of Criminal Procedure 16(d), that:

                 1.     All material and information disclosed or produced pursuant to Rule 16 of

  the Federal Rules of Criminal Procedure, pursuant to 18 U.S.C. § 3500, and/or pursuant to Brady

  v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972), to the

  defendant (the “Defendant”), Defense Counsel (as defined below), Defense Counsel’s Team (as

  defined below) by the government in the above-captioned case (hereinafter, the “Discovery

  Materials”) shall be governed by this protective order (the “Protective Order”).

                 2.     “Defense Counsel” is defined as an attorney who has filed a notice of

  appearance on behalf of the defendant and is admitted to practice in the Eastern District of New

  York (“EDNY”), or who was admitted to the EDNY pro hac vice to represent the

  defendant. “Defense Counsel’s Team” is defined as an attorney employed by Defense Counsel’s

  law firm or organization who is assigned to assist in the preparation of the defense. Defense


                                                  1
Case 1:09-cr-00466-BMC-RLM            Document 745        Filed 10/17/24      Page 2 of 11 PageID #:
                                            18876



  Counsel’s Team also includes paralegals, investigators, translators, litigation support personnel,

  and secretarial staff employed by Defense Counsel’s law firm or organization who are assigned to

  assist in the preparation of the defense. Defense Counsel’s Team also includes those persons who

  are formally engaged to assist in the preparation of the defense, including Expert Witnesses.1

  Foreign attorneys and nationals, including foreign attorneys and nationals who represent or

  represented the defendant in Mexico or any other country, are not considered part of Defense

  Counsel’s Team.

                 3.      Discovery Materials, however designated, and any and all copies, notes,

  transcripts, documents, and other information and materials derived or prepared from the

  Discovery Materials, may be used by the Defendant, Defense Counsel, and Defense Counsel’s

  Team only for the purposes of defending against the charges in the above-captioned case, including

  but not limited to preparation for trial and any sentencing, appeal, or collateral attack, which was

  commenced within one year of the exhaustion of the Defendant’s appellate rights, involving the

  charges in the above-captioned case.

                 4.      Except as otherwise provided in this Protective Order, any and all Discovery

  Materials disclosed or produced to the Defendant and/or Defense Counsel by the government, and

  any copies, notes, transcripts, documents, and other information and materials derived or prepared

  from the Discovery Materials, shall not be further disclosed, disseminated, or discussed by the

  Defendant, Defense Counsel, or Defense Counsel’s Team to, or with, any individuals,

  organizations, or other entities.




                 1
                   An “Expert Witness” is defined as a person who has been retained by Defense
  Counsel to offer testimony at trial pursuant to Federal Rule of Evidence 702. Prospective expert
  witnesses are discussed in paragraph 6 herein.

                                                   2
Case 1:09-cr-00466-BMC-RLM            Document 745        Filed 10/17/24      Page 3 of 11 PageID #:
                                            18877



                 5.      None of the Discovery Materials, nor any copies, notes, transcripts,

  documents, or other information and materials derived or prepared from the Discovery Materials,

  shall be disseminated to, or discussed with, the media in any form. Nothing in this Protective

  Order prohibits the media from obtaining copies of any items that become public exhibits at any

  conference, hearing, trial, or other proceeding.

                 6.      When negotiating with a Prospective Expert Witness2 in anticipation of

  engaging that person to assist in the preparation of the defense, Defense Counsel, or any defense

  investigator or paralegal who is part of Defense Counsel’s Team, may show (but not provide)

  Discovery Materials to the Prospective Expert Witness, if it is determined that it is necessary to do

  so for the purpose of engaging the expert or preparing the defense of the case. Each Prospective

  Expert Witness to whom disclosure of Discovery Materials is made shall be provided a copy of

  this Protective Order by Defense Counsel and will be advised by Defense Counsel that he or she

  shall not further disseminate the Discovery Materials, except at the express direction of Defense

  Counsel and in accordance with the terms of this Protective Order. Defense Counsel shall have

  the Prospective Expert Witness sign an acknowledgement form provided by the government

  affirming that he or she understands the terms of the Protective Order and the consequences of

  violating the Protective Order prior to reviewing any of the Discovery Materials. Defense Counsel

  shall keep an accounting of the pages of the Discovery Materials shown to Prospective Expert

  Witnesses.



                 2
                   A “Prospective Expert Witness” is defined as a person who potentially may offer
  expert testimony at trial or who otherwise will provide scientific, technical or other specialized
  knowledge to Defense Counsel that is necessary to the preparation of the defense pursuant to
  Federal Rule of Evidence 702. A “Prospective Expert Witness” does not include potential fact
  witnesses, investigators or any person who is not qualified to offer testimony regarding scientific,
  technical or other specialized knowledge under Rule 702.

                                                     3
Case 1:09-cr-00466-BMC-RLM             Document 745       Filed 10/17/24      Page 4 of 11 PageID #:
                                             18878



                 7.       Should Defense Counsel wish to have persons not part of Defense

  Counsel’s Team, other than the Defendant and/or Prospective Expert Witnesses, view copies of

  the Discovery Materials for the purposes of assisting in the defense of this case, Defense Counsel

  shall submit the names of such persons (collectively, “Approved Persons”) to the Court, with

  notice to the government, for approval prior to their viewing of the Discovery Materials. An

  Approved Person shall:

                       a. appear before the Court so that the Court may instruct the Approved

                          Person as to the provisions of the Protective Order and the ramifications of

                          any violation of the Protective Order;

                       b. sign the acknowledgement form described in paragraph 6, above, prior to

                          viewing the Discovery Materials;

                       c. view the Discovery Materials in the presence of Defense Counsel.

                          Defense Counsel shall keep an accounting of the pages of the Discovery

                          Materials provided to the Approved Person and ensure that all pages of the

                          Discovery Materials remain in the custody of Defense Counsel or Defense

                          Counsel’s Team; and

                       d. not retain custody of any of the Discovery Materials.

                 8.       The Discovery Materials may not be removed from the United States. This

  prohibition precludes the Discovery Materials from being emailed or transferred electronically, or

  otherwise being disseminated in any other format or by any other means, to persons located outside

  the United States.

                 9.       If the Defendant obtains substitute counsel, the Defendant, Defense

  Counsel, and Defense Counsel’s Team will not transfer any portion of the Discovery Materials or



                                                    4
Case 1:09-cr-00466-BMC-RLM           Document 745        Filed 10/17/24      Page 5 of 11 PageID #:
                                           18879



  any copies, notes, transcripts, documents, or other information and materials derived or prepared

  from the Discovery Materials unless and until such substitute counsel becomes counsel of record,

  has been provided a copy of this Protective Order, signs this Protective Order, and provides a

  signed copy to the government.

                 10.    The Defendant may review Discovery Materials specifically identified by

  the government as sensitive discovery material (the “Sensitive Discovery Material”), only in the

  presence of Defense Counsel or Defense Counsel’s Team. The Defendant is prohibited from

  having possession, custody, or control of the Sensitive Discovery Material, and any and all copies,

  notes, transcripts, documents and other information and materials derived or prepared from the

  Sensitive Discovery Material.

                 11.    The Defendant, Defense Counsel, and Defense Counsel’s Team shall not

  obtain or create any copies of the Sensitive Discovery Material for disclosure or dissemination to

  any person other than Defense Counsel and Defense Counsel’s Team.

                 12.    If Defense Counsel chooses to share the Sensitive Discovery Material with

  the Defendant, a witness and/or a witness’s counsel, that Sensitive Discovery Material must be

  shared in the presence of Defense Counsel or Defense Counsel’s Team.

                 13.    All Discovery Material specifically identified by the government as

  material designated for “ATTORNEYS’ EYES ONLY” (the “Attorneys’ Eyes Only Material”)

  shall be treated as if it had been designated as Sensitive Discovery Material with the additional

  limitations discussed in paragraph 14 below.

                 14.    Attorneys’ Eyes Only Material may be reviewed only by Defense Counsel

  and Defense Counsel’s Team. Attorneys’ Eyes Only Material may not be disseminated to or

  reviewed by any other person, including the Defendant.



                                                  5
Case 1:09-cr-00466-BMC-RLM             Document 745         Filed 10/17/24      Page 6 of 11 PageID #:
                                             18880



                 15.     Any documents, material, or information may be designated as Sensitive

  Discovery Material only upon a good-faith belief by the government that such materials contain:

  identifying information for any potential witness, victim or individual not a party to this litigation;

  sensitive information of a victim or of a witness; law enforcement sensitive information;

  information that could implicate the safety of others; information that could impede an ongoing law

  enforcement investigation; and/or any other information that the government deems in need of

  heightened protection under this Protective Order. If the government and Defense Counsel do not

  agree that certain material should be designated as Sensitive Discovery Material, the Defendant

  may provide notice to the government and a reasoned explanation regarding why the Defendant

  does not believe the materials require treatment as Sensitive Discovery Material. To the extent the

  parties do not agree, the government may make an application to the Court and seek to establish

  good cause regarding why the material should be treated as Sensitive Discovery Material.

  Defendant, Defense Counsel, and Defense Counsel’s Team shall treat the material as Sensitive

  Discovery Material pending any determination by the Court.

                 16.     Any documents, material, or information may be designated Attorneys’

  Eyes Only Material only upon a good-faith belief by the government that designation as Sensitive

  Discovery Material provides insufficient protection to such materials. If the government and

  Defense Counsel do not agree that certain material should be designated as Attorneys’ Eyes Only,

  Defense Counsel may provide notice to the government and a reasoned explanation regarding why

  Defense Counsel does not believe the materials require treatment as Attorneys’ Eyes Only Material.

  To the extent the parties do not agree, the government may make an application to the Court and

  seek to establish good cause regarding why the material should be treated as Attorneys’ Eyes Only




                                                    6
Case 1:09-cr-00466-BMC-RLM            Document 745        Filed 10/17/24      Page 7 of 11 PageID #:
                                            18881



  Material. Defendant, Defense Counsel, and Defense Counsel’s Team shall treat the material as

  Attorneys’ Eyes Only Material pending any determination by the Court.

                 17.     Nothing in this Protective Order shall preclude the government from

  seeking a further protective order pursuant to Rule 16(d) as to particular items of discovery.

                 18.     This Protective Order pertains solely to unclassified discovery materials.

  Nothing in this Protective Order shall preclude the government from seeking a further protective

  order pursuant the Classified Information Procedures Act as to particular items of discovery

  material, including classified discovery materials which are subject to additional handling

  restrictions and controls.

                 19.     Any documents, material, or information determined to be Sensitive

  Discovery Material or Attorneys’ Eyes Only Material may be so designated by stamping the legend

  “SENSITIVE” or “SENSITIVE-ATTORNEYS’ EYES ONLY,” respectively, on the document or

  by otherwise indicating to Defense Counsel the appropriate designation of the material or

  information. While each page of a sensitive document and its attachments may be marked, it shall

  be assumed that a sensitive designation on the first page of a document indicates the same sensitive

  designation for the entire document and its attachments, unless otherwise noted. Where electronic

  files or documents are produced in a format that makes stamping impractical, such files and

  documents may be designated by appending to the media on which such a file or documents are

  produced, file name, or to the electronic folder in which the file is located, information indicating

  that the file contains Sensitive or Sensitive-Attorneys’ Eyes Only material.

                 20.     Absent prior agreement of the government or permission from the Court,

  Sensitive Discovery Material or Attorneys’ Eyes Only Material shall not be included in any public

  filing with the Court, and instead shall be submitted under seal. This restriction does not apply to



                                                   7
Case 1:09-cr-00466-BMC-RLM            Document 745         Filed 10/17/24      Page 8 of 11 PageID #:
                                            18882



  documents that are or become part of the public domain (other than through a violation of the

  Protective Order) or the public court record, including documents that have been received in

  evidence at other trials, except witness statements produced pursuant to § 3500, even if available

  in the public domain or the public court record, shall not be included in public court filings, absent

  prior agreement of the government or permission from the Court.

                 21.     The Defendant, Defense Counsel, and Defense Counsel’s Team will return

  to the government or securely destroy the Discovery Materials, the Sensitive Discovery Material,

  the Attorneys’ Eyes Only Material, and all copies thereof, whether in the possession of the

  Defendant, Defense Counsel, Defense Counsel’s Team or any other signatory to this Protective

  Order or a related acknowledgment form, when the Defendant concludes all efforts to defend

  against the charges in the above-captioned case and any superseding indictment, including but not

  limited to preparing for trial and any sentencing, appeal, or collateral attack, which was

  commenced within a year of the exhaustion of the Defendant’s appellate rights, involving the

  charges in the above-captioned case.

                 22.     No failure or delay on the part of the government in the exercise of any

  power, right or privilege hereunder shall operate as a waiver thereof, nor shall any single or partial

  exercise of any such power, right or privilege preclude any other or further exercise thereof.

                 23.     Nothing in this Protective Order in any way releases counsel for the

  government or Defense Counsel from the obligations of the “Free Press Fair Trial Directives” of

  Local Rule 23.1 of the Local Criminal Rules of the Eastern District of New York.




                                                    8
Case 1:09-cr-00466-BMC-RLM           Document 745        Filed 10/17/24      Page 9 of 11 PageID #:
                                           18883



                24.     In the event the terms of this Protective Order are violated, Defense Counsel

  or the government shall advise the Court and opposing counsel immediately of the nature and

  circumstances of such violation.

                25.     This Court shall retain jurisdiction over all persons subject to this Order to

  the extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

  contempt thereof.

  Dated: October 16, 2024
  Brooklyn, New York




                                                  9
Case 1:09-cr-00466-BMC-RLM      Document 745 Filed 10/17/24          Page 10 of 11 PageID
                                     #: 18884



                                                BREON PEACE
                                                United States Attorney
                                                Eastern District of New York

                                             By: ____________________________
   ____________________________                  Francisco J. Navarro
   Frank Perez                                   Robert M. Pollack
   Ray Velarde                                   Adam Amir
   Attorneys for Defendant                       Lauren A. Bowman
                                                 Assistant United States Attorneys
   Date:               , 2024
                                                Date:                    , 2024

                                                MARLON COBAR, CHIEF
                                                Narcotic and Dangerous Drug Section
                                                Criminal Division
                                                United States Department of Justice


                                             By: ____________________________
                                                 Melanie Alsworth
                                                 Kirk Handrich
                                                 Trial Attorneys

                                                 Date:                    , 2024

                                                OF COUNSEL
                                                MARKENZY LAPOINTE
                                                United States Attorney
                                                Southern District of Florida

                                             By: ____________________________
                                                 Andrea Goldbarg
                                                 Assistant United States Attorney


                                                 Date:                    , 2024




                                        10
Case 1:09-cr-00466-BMC-RLM   Document 745 Filed 10/17/24   Page 11 of 11 PageID
                                  #: 18885



 SO ORDERED.


 Date: October 17   , 2024




 THE HONORABLE BRIAN M. COGAN
 UNITED STATES DISTRICT JUDGE
 EASTERN DISTRICT OF NEW YORK




                                     11
